           Case 1:14-vv-00654-UNJ Document 30 Filed 07/17/15 Page 1 of 7




        In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                           No. 14-654V
                                       Filed: June 16, 2015
                                           Unpublished

****************************
KAREN WOOLLEY,                          *
                                        *
                    Petitioner,         *      Joint Stipulation on Damages;
                                        *      Influenza Vaccine or Flu Vaccine;
                                        *      Guillain-Barré Syndrome (“GBS”);
SECRETARY OF HEALTH                     *      Miller Fisher Syndrome; A Variant of
AND HUMAN SERVICES,                     *      GBS; Special Processing Unit (“SPU”);
                                        *
                    Respondent.         *
                                        *
****************************
Amber Wilson, Esq., Maglio Christopher and Toale, PA, (DC) Washington, DC, for
       petitioner.
Justine Walters, Esq., U.S. Department of Justice, Washington, DC, for respondent.

                                DECISION AWARDING DAMAGES1

Vowell, Chief Special Master:

        On July 25, 2014, Karen Woolley filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 [the
“Vaccine Act” or “Program”]. Petitioner alleges that she suffered the Miller Fisher
variant of Guillain-Barré syndrome (GBS) causally related to an adverse reaction to the
influenza vaccine she received on September 9, 2013. Petition, ¶¶ 2, 5-7; Stipulation,
filed June 15, 2015, ¶¶ 2, 4. Petitioner further alleges that she experienced the residual
effects of GBS for more than six months. Petition, ¶ 8. Respondent denies that the
influenza vaccination caused petitioner’s GBS or any other injury. Stipulation, ¶ 6.




1 Because this unpublished decision contains a reasoned explanation for the action in this case, I intend
to post it on the United States Court of Federal Claims' website, in accordance with the E-Government
Act of 2002, Pub. L. No. 107-347, § 205, 116 Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501
note (2006)). In accordance with Vaccine Rule 18(b), petitioner has 14 days to identify and move to
redact medical or other information, the disclosure of which would constitute an unwarranted invasion of
privacy. If, upon review, I agree that the identified material fits within this definition, I will redact such
material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2006).
          Case 1:14-vv-00654-UNJ Document 30 Filed 07/17/15 Page 2 of 7



       Nevertheless, the parties have agreed to settle the case. Stipulation, ¶ 7. On
June 15, 2015, the parties filed a joint stipulation agreeing to settle this case and
describing the settlement terms.

      Respondent agrees to pay petitioner a lump sum of $125,000.00 in the form of a
check payable to petitioner, Karen Woolley. Stipulation, ¶ 8. This amount represents
compensation for all damages that would be available under 42 U.S.C. § 300aa-15(a).
Id.

      I adopt the parties’ stipulation attached hereto, and award compensation in the
amount and on the terms set forth therein. In the absence of a motion for review filed
pursuant to RCFC Appendix B, the clerk of the court is directed to enter judgment in
accordance with this decision.3

                                        s/Denise K. Vowell
                                        Denise K. Vowell
                                        Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by each filing a notice renouncing
the right to seek review by a United States Court of Federal Claims judge.
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Case 1:14-vv-00654-UNJ Document 30
                                24 Filed 07/17/15
                                         06/15/15 Page 3
                                                       1 of 7
                                                            5
Case 1:14-vv-00654-UNJ Document 30
                                24 Filed 07/17/15
                                         06/15/15 Page 4
                                                       2 of 7
                                                            5
Case 1:14-vv-00654-UNJ Document 30
                                24 Filed 07/17/15
                                         06/15/15 Page 5
                                                       3 of 7
                                                            5
Case 1:14-vv-00654-UNJ Document 30
                                24 Filed 07/17/15
                                         06/15/15 Page 6
                                                       4 of 7
                                                            5
Case 1:14-vv-00654-UNJ Document 30
                                24 Filed 07/17/15
                                         06/15/15 Page 7
                                                       5 of 7
                                                            5
